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       EXHIBIT A
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                                          Florida Face Page
Insured's Name: Office, The; A&S Entertainment, LLC DBA

Policy Number: Z1JA16388302

UMR Number:

Policy Dates: 11/22/2015 to 11/22/2016

Surplus Lines Agent's Name: Alan S. Goldfarb

Surplus Lines Agent's Address: 510 Vonderburg Drive Suite 214, Brandon, FL 33511

Surplus Lines Agent's License Number: A099212

Producing Agent's Name: Frank Pettineo

Producing Agent's Physical Address: 2430 East Commercial Boulevard Fort Lauderdale, FL 33308

"THIS INSURANCE IS ISSUED PURSUANT TO THE FLORIDA SURPLUS LINES LAW. PERSONS INSURED
BY SURPLUS LINES CARRIERS DO NOT HAVE THE PROTECTION OF THE FLORIDA INSURANCE
GUARANTY ACT TO THE EXTENT OF ANY RIGHT OF RECOVERY FOR THE OBLIGATION OF AN
INSOLVENT UNLICENSED INSURER."

"SURPLUS LINES INSURERS' POLICY RATES AND FORMS ARE NOT
APPROVED BY ANY FLORIDA REGULATORY AGENCY."
Premium: $26,250.00                                  TRIA/Terrorism: REJECTED

Fees:                                                Taxes:
Policy Fee $35.00                                    Surplus Lines Tax $1,314.25
                                                     Service Office Fee $46.00
                                                     DEM EMPA Surcharge $4.00




Total Cost: $27,649.25


Surplus Lines Agent's Countersignature:


_____ "THIS POLICY CONTAINS A SEPARATE DEDUCTIBLE FOR HURRICANE OR WIND LOSSES, WHICH MAY
       RESULT IN HIGH OUT-OF-POCKET EXPENSES TO YOU."

__x___ "THIS POLICY CONTAINS A CO-PAY PROVISION THAT MAY RESULT IN HIGH OUT-OF-POCKET EXPENSES
       TO YOU."
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                                                                           COMMERCIAL LINES POLICY
                                                                            COMMON DECLARATIONS

                      Coverage is Provided in the following Company: AIX Specialty Insurance Company

                                                                                                                           Z1J A163883 01
                                                                                                                        _____________________
                                                                                                                            Renewal of Number
     POLICY NUMBER                          POLICY PERIOD                                                                       AGENCY CODE
                                          FROM                   TO
Z1J A163883 02                                                                   AT 12:01 AM STANDARD TIME AT YOUR
                                     11/22/2015         11/22/2016                MAILING ADDRESS SHOWN BELOW                     5009543
        NAMED INSURED AND MAILING ADDRESS
A & S ENTERTAINMENT LLC                                                     RT Specialty LLC - 5009543
DBA: THE OFFICE                                                             510 Vonderburg Dr, Ste 214
250 NE MIAMI GARDENS DR                                                     Brandon, FL 33511
Miami, FL 33179
DESCRIPTION OF BUSINESS
Form of Business
  Individual     Corporation              Partnership             Limited Liability Company                 Organization (Other)
Business Description:


  IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY, WE
 AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY. THIS POLICY CONSISTS OF THE
 FOLLOWING COVERAGE PART(S) FOR WHICH A PREMIUM IS INDICATED. THIS PREMIUM MAY BE SUBJECT TO
                                       ADJUSTMENT.
                                                                                                                        PREMIUM
                                                                                                                    $ 3,000.00
                                                                                                                    $ 15,000.00
                                                                                                                    $
         Commercial                                                                                                 $
                                                                                                                    $
                                                                                                                    $ 8,250.00
                                                                                                                    $
         Inspection                                                                                                 $
PREMIUM
    Prepaid      The total annual premium of $ 26,250.00                         is due at inception.
Audit Period: Non-Auditable Unless Indicated by         Annual        Semi-Annual         Quarterly       Monthly        Other:


  THESE DECLARATIONS TOGETHER WITH THE COMMON POLICY CONDITIONS, COVERAGE PART COVERAGE FORM(S) AND FORMS
         AND ENDORSEMENTS, IF ANY, ISSUED TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBERED POLICY.




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                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      MINIMUM EARNED PREMIUM ENDORSEMENT

This endorsement modifies insurance provided under the following:

BUILDING AND PERSONAL PROPERTY COVERAGE FORM
COMMERCIAL GENERAL LIABILITY COVERAGE PART
LIQUOR LIABILITY COVERAGE PART
PRODUCTS/COMPLETED OPERATIONS COVERAGE PART


                                                          SCHEDULE
  Minimum Earned Premium              $ 6,563
(Information required to complete this Schedule, if not shown on this endorsement, will be shown in the Declarations.)

If this insurance is cancelled by you or us for any reason, and the actual earned premium as calculated by us is less
than the sum specified in the Schedule above, we shall retain the amount specified above.


                 ALL OTHER TERMS, CONDITIONS, AND EXCLUSIONS REMAIN UNCHANGED.




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THIS NOTICE IS ATTACHED TO AND MADE PART OF YOUR POLICY IN RESPONSE TO THE DISCLOSURE
REQUIREMENTS OF THE TERRORISM RISK INSURANCE ACT, AS AMENDED. THIS NOTICE DOES NOT
GRANT ANY COVERAGE OR CHANGE THE TERMS AND CONDITIONS OF ANY COVERAGE UNDER THIS
POLICY. IF THERE IS A CONFLICT BETWEEN THIS NOTICE AND THE POLICY, THE PROVISIONS OF THE
POLICY SHALL APPLY.


               NOTICE – REJECTION OF TERRORISM COVERAGE AND
                           DISCLOSURE OF PREMIUM
                                                             Schedule
 REJECTION STATEMENT
 You have rejected the offer of terrorism coverage. You understand that an exclusion for certain terrorism
 losses will be made part of your policy.
 Disclosure of Premium:
 Total Terrorism Premium                                            $0
 Fire Following Premium                                             $0
 Other than Fire Following Premium                                  $0



You have rejected coverage for “acts of terrorism,” as defined in Section 102(1) of the Terrorism Risk Insurance
Act (“Act”) and an exclusion will be included in your policy. You are hereby notified that under the Act, as amended
in 2015, the definition of “act of terrorism” is:
        Any act or acts that are certified by the Secretary of the Treasury, in consultation with the
        Secretary of Homeland Security and the Attorney General of the United States, to be an act of
        terrorism; to be a violent act or an act that is dangerous to human life, property, or infrastructure;
        to have resulted in damage within the United States, or outside the United States in the case of
        certain air carriers or vessels or the premises of a United States mission; and to have been
        committed by an individual or individuals as part of an effort to coerce the civilian population of
        the United States or to influence the policy or affect the conduct of the United States government
        by coercion.
Note for Commercial Property or Commercial Inland Marine Policyholders in Standard Fire States:
In your state, a terrorism exclusion makes an exception for (and thereby provides coverage for) fire losses
resulting from an act of terrorism. Therefore, if you reject the offer of terrorism coverage, that rejection does not
apply to fire losses resulting from an act of terrorism. Coverage for such fire losses will be provided in your policy.
The additional premium just for such fire coverage is described as Fire Following Premium in the Schedule above.
Disclosure of Federal Participation in Payment of Terrorism Losses
The United States government through the Department of the Treasury may pay a share of terrorism losses
insured under the federal program under a formula set forth in the Act. Under this formula, the United States
government generally reimburses the following percentage of covered terrorism loss which exceeds the statutorily
established deductible paid by the insurance company providing the coverage: 85% through 2015; 84% beginning
on January 1, 2016; 83% beginning on January 1, 2017; 82% beginning on January 1, 2018; 81% beginning on
January 1, 2019; and 80% beginning on January 1, 2020.
Cap on Insurer Participation in Payment of Terrorism Losses
The Act contains a $100 billion cap that limits the reimbursement by the United States government as well as
insurers’ liability for losses resulting from certified acts of terrorism. If the aggregate of insured losses attributable
to terrorist acts certified under the Terrorism Risk Insurance Act exceed $100 billion in a calendar year and we
have met our insurer deductible under the Act, we will not be liable for the payment of any portion of the amount
of such losses that exceeds $100 billion. In such case, insured losses up to that amount are subject to pro rata
allocation in accordance with procedures established by the Secretary of the Treasury.




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POLICY NUMBER: Z1J A163883 02                                                       COMMERCIAL PROPERTY
                                                                                            CP 04 11 10 12

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                            PROTECTIVE SAFEGUARDS
This endorsement modifies insurance provided under the following:

   COMMERCIAL PROPERTY COVERAGE PART
   STANDARD PROPERTY POLICY
                                   SCHEDULE

                                                                                 Protective Safeguards
        Premises Number                       Building Number                     Symbols Applicable
               1                                     1                                    P-1




Describe Any "P-9":




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. The following is added to the Commercial Property              a. Any     automatic    fire    protective  or
   Conditions:                                                       extinguishing system, including connected:
   Protective Safeguards                                            (1) Sprinklers and discharge nozzles;
   1. As a condition of this insurance, you are                     (2) Ducts, pipes, valves and fittings;
      required to maintain the protective devices or                (3) Tanks, their component parts and
      services listed in the Schedule above.                             supports; and
   2. The protective safeguards to which this                       (4) Pumps and private fire protection mains.
      endorsement applies are identified by the
      following symbols:                                          b. When supplied from an automatic fire
                                                                     protective system:
      "P-1" Automatic Sprinkler System, including
      related supervisory services.                                 (1) Non-automatic fire protective systems;
                                                                         and
      Automatic Sprinkler System means:




CP 04 11 10 12                      © Insurance Services Office, Inc., 2011                          Page 1 of 2
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POLICY NUMBER: Z1J A163883 02                                                        COMMERCIAL PROPERTY
                                                                                             CP 12 11 10 00

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 BURGLARY AND ROBBERY PROTECTIVE
                           SAFEGUARDS
This endorsement modifies insurance provided under the following:

   COMMERCIAL PROPERTY COVERAGE PART

                                                  SCHEDULE*

             Premises                              Building                         Protective Safeguards
                No.                                  No.                             Symbols Applicable
                 1                                      1                                    BR-1




Describe any "BR-4":

*Information required to complete this Schedule, if not shown on this endorsement, will be shown in the Declara-
tions.

A. The following is added to the Commercial Prop-                 c. "BR-3" Security Service, with a recording
   erty Conditions:                                                    system or watch clock, making hourly
   BURGLARY AND ROBBERY PROTECTIVE                                     rounds covering the entire building, when
   SAFEGUARDS                                                          the premises are not in actual operation.
   1. As a condition of this insurance, you are re-               d. "BR-4" The protective safeguard described
      quired to maintain the protective devices and/or                 in the Schedule.
      services listed in the Schedule above.               B. The following is added to the Exclusions section
   2. The protective safeguard(s) to which this en-           of the Causes Of Loss  Special Form:
      dorsement applies are identified by the follow-         BURGLARY AND ROBBERY PROTECTIVE
      ing symbols:                                            SAFEGUARDS
       a. "BR-1" Automatic Burglary Alarm, protecting         We will not pay for loss or damage caused by or
          the entire building, that signals to:               resulting from theft if, prior to the theft, you:
         (1) An outside central station; or                   1. Knew of any suspension or impairment in any
         (2) A police station.                                    protective safeguard listed in the Schedule
                                                                  above and failed to notify us of that fact; or
      b. "BR-2" Automatic Burglary Alarm, protecting
         the entire building, that has a loud sounding        2. Failed to maintain any protective safeguard
         gong or siren on the outside of the building.            listed in the Schedule above, and over which
                                                                  you had control, in complete working order.




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                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

            ASSAULT AND BATTERY LIMITATION – PER OCCURRENCE

This endorsement modifies insurance provided under the:

COMMERCIAL GENERAL LIABILITY COVERAGE PART
LIQUOR LIABILITY COVERAGE PART


                                                          SCHEDULE
  Assault and Battery Each Occurrence Limit: $ 25,000
  Assault and Battery Aggregate Limit: $ 25,000


(If no entry appears above, information required to complete this endorsement will be shown in the Declarations
as applicable to this endorsement.)

A. The combined Limits of Insurance provided by                                served, or furnished an alcoholic beverage or
   your COMMERCIAL GENERAL LIABILITY                                           beverages.
   COVERAGE PART and LIQUOR LIABILITY                                     2. The Assault and Battery Aggregate Limit
   COVERAGE PART for “bodily injury”, “property                              shown in the SCHEDULE above of this
   damage”, “personal and advertising injury”, and                           endorsement is the most we will pay under
   “injury” arising out of “assault and battery” are                         both Coverage Parts to which this
   subject to the Assault and Battery Each                                   endorsement applies for the sum of:
   Occurrence Limit and the Assault and Battery
   Aggregate Limit as described in Paragraph B. of                             a. All damages under SECTION                I –
   this endorsement.                                                              COVERAGES, COVERAGE A.                    and
                                                                                  Coverage B.; and
B.
                                                                               b. All damages under SECTION I –
     1. The Assault and Battery Each Occurrence                                   COVERAGES,           LIQUOR        LIABILITY
        Limit set forth in the SCHEDULE above is the                              COVERAGE arising out of all claims or
        most we will pay under both Coverage Parts to                             “suits” for “assault and battery”.
        which this endorsement applies for the sum of:
                                                                          3. Any damages payable under this endorsement
        a. All damages under SECTION I –                                     shall be included within and reduce:
           COVERAGES, COVERAGE A AND
           COVERAGE B. of your Commercial                                      a. the Each Occurrence Limit or Personal
           General Liability Coverage Form; and                                   and Advertising Injury Limit; and
        b. All damages under SECTION I –                                       b. the General Aggregate or Products-
           COVERAGES,          LIQUOR       LIABILITY                             Completed Operations Aggregate, of the
           COVERAGE because of all “bodily injury”,                               COMMERCIAL GENERAL LIABILITY
           “property    damage”,      “personal    and                            COVERAGE PART, as applicable; or
           advertising injury” and “injury” arising out                        c. the Each Common Cause Limit and
           of any one “occurrence” or “occurrence”                                Aggregate Limit of the LIQUOR LIABILITY
           and/or offense of an “assault and battery”.                            COVERAGE PART.
        Any series of related incidents of “assault and              C. The following definition is added to SECTION V –
        battery” such as a battery involving multiple                   DEFINITIONS:
        blows, an altercation involving multiple                          “Assault and battery” means:
        participants, a battery and false imprisonment,
        or any combination thereof, shall be deemed                       a. a threat of bodily violence or harm to a person,
        to be a single “occurrence” or “occurrence” for                      or an attempt to do such violence or harm;
        purposes of the Assault and Battery Each                          b. an uninvited use of any physical force on a
        Occurrence Limit, regardless of the number of                        person including, but not limited to, beating or
        persons that have sustained “injury” or the                          offensive touching;
        number of persons that have been sold,                            c. false arrest, detention or imprisonment; or


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                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

                  LIABILITY INSURANCE DEDUCTIBLE ENDORSEMENT

This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE PART
PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART


                                                            SCHEDULE
  Coverage                                                                               Amount and Basis of Deductible
                                                                                     Per Claim                Per Occurrence
  Bodily Injury Liability, or;                                                       $                        $
  Property Damage Liability, or;                                                     $                        $
  Bodily Injury Liability and/or Property Damage Liability Combined                  $ 2,500                  $
(If no entry appears above, information required to complete this endorsement will be shown in the Declarations
as applicable to this endorsement.)
  APPLICATION OF ENDORSEMENT (Enter below any limitations on the application of this endorsement. If
  no limitation is entered, the deductibles apply to damages for all "bodily injury" and "property damage",
  however caused):
  THE DEDUCTIBLE AMOUNT SHALL ALSO INCLUDE ALL ALLOCATED EXPENSES, INCLUDING
  LEGAL EXPENSES, INCURRED BY THE COMPANY IN THE INVESTIGATION, NEGOTIATION,
  SETTLEMENT AND DEFENSE OF ANY CLAIM OR SUIT SEEKING DAMAGES.




A. Our obligation under the Bodily Injury Liability and                          b. Under    Property   Damage     Liability
   Property Damage Liability Coverages to pay                                       Coverage, to all damages sustained by
   damages on your behalf applies only to the                                       any one person because of "property
   amount of damages in excess of any deductible                                    damage"; or
   amounts stated in the Schedule above as                                       c. Under Bodily Injury Liability and/or
   applicable to such coverages.                                                    Property Damage Liability Coverage
B. You may select a deductible amount on either a                                   Combined, to all damages sustained by
   per claim or a per "occurrence" basis. Your                                      any one person because of:
   selected deductible applies to the coverage option                                 (1) "Bodily injury";
   and to the basis of the deductible indicated by the
   placement of the deductible amount in the                                          (2) "Property damage"; or
   Schedule above. The deductible amount stated in                                    (3) "Bodily injury" and "property damage"
   the Schedule above applies as follows:                                                 combined
    1. Per Claim Basis                                                                as the result of any one "occurrence”.
        If the deductible amount indicated in the                                     If damages are claimed for care, loss of
        Schedule above is on a per claim basis, that                                  services or death resulting at any time
        deductible applies as follows:                                                from "bodily injury", a separate deductible
        a. Under Bodily Injury Liability Coverage, to                                 amount will be applied to each person
           all damages sustained by any one person                                    making a claim for such damages.
           because of "bodily injury";                                                With respect to "property damage", person
                                                                                      includes an organization.
                                                                            2. Per Occurrence Basis
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                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                              DEDUCTIBLE LIABILITY INSURANCE

This endorsement modifies insurance provided under the following:

LIQUOR LIABILITY COVERAGE PART


                                               SCHEDULE
 Location: 250 NE Miami Gardens Dr., Miami, FL 33179
 Coverage                                                                               Amount and Basis of Deductible
                                                                                    Per Claim       Per Common Cause
 Liquor Liability                                                                   $ 2,500         $
(If no entry appears above, information required to complete this endorsement will be shown in the Declarations
as applicable to this endorsement.)

 APPLICATION OF ENDORSEMENT (Enter below any limitations on the application of this endorsement. If no
 limitation is entered, the deductibles apply to damages for "injury", however caused):
 THE DEDUCTIBLE AMOUNT SHALL ALSO INCLUDE ALL ALLOCATED EXPENSES, INCLUDING LEGAL
 EXPENSES, INCURRED BY THE COMPANY IN THE INVESTIGATION, NEGOTIATION, SETTLEMENT
 AND DEFENSE OF ANY CLAIM OR SUIT SEEKING DAMAGES.




A. Our obligation under the Liquor Liability Coverage                           as the result of the selling, serving or
   to pay damages on your behalf applies only to the                            furnishing of any alcoholic beverage to any
   amount of damages in excess of any deductible                                one person, regardless of the number of
   amount stated in the Schedule above.                                         persons or organizations who sustain
                                                                                damages.
B. You may select a deductible amount on either a
   per claim or a per common cause basis. Your                       C. The terms of this insurance, including those with
   selected deductible applies to the Liquor Liability                  respect to:
   Coverage and to the basis of the deductible                            1. Our right and duty to defend the insured
   indicated by the placement of the deductible                              against any "suit" seeking those damages;
   amount in the Schedule above. The deductible                              and
   amount stated in the Schedule above applies as                         2. Your duties in the event of an "injury”, claim or
   follows:                                                                  "suit"
    1. Per Claim Basis. If the deductible amount                          apply irrespective of the application of the
       indicated in the Schedule above is on a per                        deductible amount.
       claim basis, that deductible applies under
       Liquor Liability Coverage, to all "injuries"                  D. We may pay any part or all of the deductible
       sustained by any one person or organization.                     amount to effect settlement of any claims or "suit"
                                                                        and, upon notification of the action taken, you shall
    2. Per Common Cause Basis. If the deductible                        promptly reimburse us for such part of the
       amount indicated in the Schedule above is on                     deductible amount as has been paid by us.
       a per common cause basis, that deductible
       amount applies under Liquor Liability
       Coverage to all damages because of "injury"


                 ALL OTHER TERMS, CONDITIONS, AND EXCLUSIONS REMAIN UNCHANGED.


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POLICY NUMBER: Z1J A163883 02                                              COMMERCIAL GENERAL LIABILITY
                                                                                          CG 20 13 04 13

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

               ADDITIONAL INSURED – STATE
         OR GOVERNMENTAL AGENCY OR SUBDIVISION
            OR POLITICAL SUBDIVISION – PERMITS
         OR AUTHORIZATIONS RELATING TO PREMISES
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                   SCHEDULE

State Or Governmental Agency Or Subdivision Or Political Subdivision:
City of Jacksonville




 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II – Who Is An Insured is amended to               However:
   include as an additional insured any state or              1. The insurance afforded to such additional
   governmental agency or subdivision or political                insured only applies to the extent permitted by
   subdivision shown in the Schedule, subject to the              law; and
   following additional provision:
                                                              2. If coverage provided to the additional insured is
   This insurance applies only with respect to the                required by a contract or agreement, the
   following hazards for which the state or                       insurance afforded to such additional insured
   governmental agency or subdivision or political                will not be broader than that which you are
   subdivision has issued a permit or authorization in            required by the contract or agreement to
   connection with premises you own, rent or control              provide for such additional insured.
   and to which this insurance applies:
                                                           B. With respect to the insurance afforded to these
   1. The      existence,      maintenance,     repair,       additional insureds, the following is added to
       construction, erection or removal of advertising       Section III – Limits Of Insurance:
       signs, awnings, canopies, cellar entrances,
       coal holes, driveways, manholes, marquees,             If coverage provided to the additional insured is
       hoist away openings, sidewalk vaults, street           required by a contract or agreement, the most we
       banners or decorations and similar exposures;          will pay on behalf of the additional insured is the
       or                                                     amount of insurance:
   2. The construction, erection or removal of                1. Required by the contract or agreement; or
      elevators; or                                           2. Available under the applicable Limits of
   3. The ownership, maintenance or use of any                    Insurance shown in the Declarations;
      elevators covered by this insurance.                    whichever is less.
                                                               This endorsement shall not increase the
                                                               applicable Limits of Insurance shown in the
                                                               Declarations.




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POLICY NUMBER: Z1J A163883 02                                           COMMERCIAL GENERAL LIABILITY
                                                                                       CG 21 44 07 98

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

            LIMITATION OF COVERAGE TO DESIGNATED
                     PREMISES OR PROJECT
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                 SCHEDULE

Premises:
250 NE Miami Gardens Drive, Miami FL 33179



Project:



(If no entry appears above, information required to complete this endorsement will be shown in the Declarations
as applicable to this endorsement.)

This insurance applies only to "bodily injury", "property damage", "personal and advertising injury" and medical
expenses arising out of:
   1. The ownership, maintenance or use of the premises shown in the Schedule and operations necessary or
       incidental to those premises; or
   2. The project shown in the Schedule.




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POLICY NUMBER: Z1J A163883 02                                           COMMERCIAL GENERAL LIABILITY
                                                                                       CG 21 53 01 96

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     EXCLUSION – DESIGNATED ONGOING OPERATIONS
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                 SCHEDULE

Description of Designated Ongoing Operation(s):
Mechanical Bull




Specified Location (If Applicable):




(If no entry appears above, information required to complete this endorsement will be shown in the Declarations
as applicable to this endorsement.)
The following exclusion is added to paragraph 2.,         Unless a "location" is specified in the Schedule, this
Exclusions of COVERAGE A – BODILY INJURY                  exclusion applies regardless of where such opera-
AND PROPERTY DAMAGE LIABILITY (Section I –                tions are conducted by you or on your behalf. If a
Coverages):                                               specific "location" is designated in the Schedule of
This insurance does not apply to "bodily injury" or       this endorsement, this exclusion applies only to the
"property damage" arising out of the ongoing opera-       described ongoing operations conducted at that
tions described in the Schedule of this endorsement,      "location".
regardless of whether such operations are conducted       For the purpose of this endorsement, "location"
by you or on your behalf or whether the operations        means premises involving the same or connecting
are conducted for yourself or for others.                 lots, or premises whose connection is interrupted only
                                                          by a street, roadway, waterway or right-of-way of a
                                                          railroad.




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POLICY NUMBER: Z1J A163883 02                                              COMMERCIAL GENERAL LIABILITY
                                                                                          CG 28 06 01 96

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     LIMITATION OF COVERAGE TO INSURED PREMISES
This endorsement modifies insurance provided under the following:


   LIQUOR LIABILITY COVERAGE PART

                                                    SCHEDULE


Description and Location of "Insured Premises":
Cabaret
250 NE Miami Gardens Drive
Miami, FL 33179




(If no entry appears above, information required to complete this endorsement will be shown in the Declarations
as applicable to this endorsement.)
A. This insurance only applies to damages arising out of your "insured premises".
B. The following definition is added to the DEFINITIONS Section:
     "Insured premises" means:
     1. The premises shown in the Schedule; and
     2. Any premises you acquire during the policy period for use in manufacturing, distributing, selling, serving or
         furnishing alcoholic beverages if:
         a. You notify us within 30 days after the acquisition, and
         b. You have no other valid and collectible insurance applicable to the loss.




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 In Witness Whereof, Aix Specialty Insurance Company has executed and attested
 these presents, and where required by law, has caused this Policy to be
 countersigned by its duly authorized Representative.




Charles Frederick Cronin                          Frederick H. Eppinger
 Corporate Secretary                                   President




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